The appellant raises two points: First, that the evidence is insufficient to sustain or justify the conviction, and second, that the court erred in matters of law in instructing the jury.
[1] Eliminating the evidence of the admitted accomplices, there is ample and sufficient evidence to sustain the conviction. The court by its instructions left to the jury the question as to whether or not certain of the witnesses were accomplices, and properly instructed the jury in defining an accomplice, and properly gave to the jury the limitations affecting the evidence of an accomplice.
[2] We can find no error in the given instructions, and the principal objections raised by appellant as to the refusal of the court to give the instructions offered by him, are fully met by the fact that such instructions, as requested, were *Page 502 
given to the jury in so far as they were proper or applicable to the evidence introduced.
The judgment and order denying motion for a new trial are affirmed.
Conrey, P.J., and Houser, J., concurred.